       Case 2:21-cv-00594-AMM Document 2 Filed 04/28/21 Page 1 of 14                       FILED
                                                                                  2021 Apr-28 PM 04:35
                                                                                  U.S. DISTRICT COURT
                                                                                      N.D. OF ALABAMA


         IN THE UNITED STATES DISTRICT COURT FOR THE
               NORTHERN DISCTRICT OF ALABAMA
                      SOUTHERN DIVISION

 GIOVANNI LOYOLA,                             )
                                              )
      PLAINTIFF,                              )
                                              )
                                              )   CIVIL ACTION NO.:
 v.                                           )   2:21-CV-00594-AMM
                                              )
 JEFFERSON COUNTY SHERIFF’S                   )   JURY DEMAND
 DEPUTY GODBER, BADGE NO 379                  )
                                              )
      DEFENDANT.                              )


                           AMENDED COMPLAINT

I.    Jurisdiction and Venue

1.    Plaintiff brings this complaint under 42 U.S.C. Section 1983 for damages

      resulting from the deprivation of his civil rights as secured by the Fourth

      Amendment to the United States Constitution by the defendant. The Court has

      Jurisdiction of this action and over the parties pursuant to 28 USC Sections

      1331 and 1343.

2.    Venue is proper in the Northern District of Alabama because the injuries

      complained of occurred within this district.

II.   Parties

3.    The Plaintiff, Giovanni Loyola, is over the age of nineteen and is a resident of

      Jefferson County, Alabama.
                                          1
        Case 2:21-cv-00594-AMM Document 2 Filed 04/28/21 Page 2 of 14




4.     Defendant Godber is a deputy employed by the Jefferson County Sheriff’s

       Department.

III.   Facts

5.     Late in the evening of February 16, 2020, the plaintiff, Giovanni Loyola, a

       young Hispanic man, heard a knock at the door of his mother’s house in

       Pinson, where he lived.

6.     According to a police report from this incident, at 23:05 the Sheriff’s Office

       allegedly received a call reporting that at lot #8, there were two males fighting

       outside and they were seen either unloading or loading large weapons.

7.     Plaintiff was not fighting anyone, had no guns, nor did he see or hear any

       guns that evening.

8.     The police report further states that Deputies McKinney, White, and Godber

       arrived on the scene and could hear loud arguing from inside the trailer at lot

       number eight, which supposedly was Plaintiff’s mother’s home.

9.     The report further states that the deputies knocked on the door, which

       was answered by a Hispanic male, later identified as Giovanni Loyola, the

       plaintiff in this case.

10.    Plaintiff did answer the door to find Jefferson County Sheriff’s Deputies

       standing there.




                                           2
       Case 2:21-cv-00594-AMM Document 2 Filed 04/28/21 Page 3 of 14




11.   Prior to answering the door, Plaintiff had been inside his mother’s home

      watching television. There was no loud arguing or any other kind of

      disturbance going on inside the home.

12.   When Plaintiff answered the door he asked the deputies standing there what

      was wrong. Deputy Godber, without answering and without asking

      permission to enter the home, reached inside the doorway, grabbed Plaintiff

      by the wrist and jerked him outside the home and down the steps.

13.   Deputy Godber then slammed Plaintiff against a car, threw him to the ground

      and punched him in the face with his fist.

14.   Deputy Godber then cuffed Plaintiff’s hands together behind his back

      extremely tightly and placed his knee on Plaintiff’s upper back with Deputy

      Godber’s weight on the knee.

15.   Plaintiff is a small man, about five feet five inches tall and weighing around

      132 pounds. Deputy Godber, grinding his knee into Plaintiff’s back,

      outweighed Plaintiff by at least fifty pounds.

16.   Plaintiff’s mother, Maribel Perez, came outside of her home, saw Deputy

      Godber on top of her son with his knee on her son’s back, and pleaded with

      the deputy to get off Plaintiff.




                                         3
       Case 2:21-cv-00594-AMM Document 2 Filed 04/28/21 Page 4 of 14




17.   Meanwhile, Plaintiff was telling Deputy Godber that he had not done

      anything wrong. Ms. Perez told her son to be quiet, and Deputy Godber

      interjected, stating that Plaintiff “doesn’t know how to be fucking quiet.”

18.   According to the police report, the deputies claimed Plaintiff had been

      fighting with his brothers. However, Plaintiff had not been fighting with

      anyone.

19.   With Deputy Godber still kneeling on Plaintiff’s back with his weight on his

      knee, Plaintiff told Deputy Godber that the handcuffs were too tight, that they

      were hurting his wrists, and that one of his hands was growing numb.

20.   Deputy Godber heard Plaintiff but ignored him. Deputy Godber refused even

      to consider loosening the handcuffs. He kept the handcuffs on Plaintiff with

      the same degree of tightness until he had transported him to the Jefferson

      County jail that night.

21.   Plaintiff continued to complain about the unbearably tight handcuffs as

      Defendant transported him to the jail.

22.   While Plaintiff remained cuffed on the ground with Deputy Godber’s knee in

      his back, according to the police report Deputies McKinney and White went

      inside Plaintiff’s mother’s trailer and, in the words of the report, conducted

      what they claim was a “safety sweep to see if anyone had been shot or was

      injured from the apparent fight, which was the initial complaint.”


                                         4
       Case 2:21-cv-00594-AMM Document 2 Filed 04/28/21 Page 5 of 14




23.   However, the deputies did not have a warrant to enter the home, and there

      were no exigent circumstances that would allow them to enter the home

      without a warrant. The other occupants of the home were not inside the

      home, they were outside.

24.   While deputies McKinney and White were conducting their search of the

      home without a warrant, Deputy Godber remained on top of Plaintiff with his

      knee in his back and the handcuffs dangerously tight on his wrists.

25.   The handcuffs remained tightly on Plaintiff’s wrists until they were removed

      hours later at the jail.

26.   After Plaintiff got out of jail on February 28, 2020, his left wrist was still in

      tremendous pain. He went to Christ Health Center where the physician

      provided him with a medical excuse stating that “[h]e was found to have a

      severe problem with blood flow to his left hand and is in need of emergent

      surgery.”

27.   Plaintiff was admitted to St. Vincent’s East and remained there until March

      2, 2020.

28.   On February 28, upon admission to the Emergency Department, the notes

      state that Plaintiff had “gray fingertips and concern for necrosis of the left

      hand. He has had increasing pain in his fingertips after he was handcuffed 4

      days ago and sent in from Christ Health Center for rule out of dissection.”


                                          5
       Case 2:21-cv-00594-AMM Document 2 Filed 04/28/21 Page 6 of 14




29.   Plaintiff then went for a surgical consultation that same day, February 28.

      The surgeon’s records state, “[t]his is a 25 year old male who complains of

      severe pain to his second and third left finger with dusky ischmic tips. Patient

      was arrested about 3 days ago and was placed on handcuffs for a few hours.

      After the handcuffs were removed he developed severe wrist swelling. Over

      the next couple of days he developed worsening pain to his distal tip of his

      second and third left finger.”

30.   Plaintiff was admitted to the hospital. The admission notes state: “Patient

      presented to the emergency department after being sent over from clinic with

      complains of left hand pain. Patient states that he was arrested 4 days ago and

      was placed in handcuffs that were very tight. He noted after this experience

      left wrist pain and left wrist swelling the progressed over the next several days

      to primarily left second and third digit swelling, discoloration, and intense

      pain that would wake him during the night.”

31.   The discharge report, dated March 20, 2020, states that “Pt state he was

      arrested and they did the handcuffs too tight and messed up his wrists and

      fingers.”

32.   Plaintiff was admitted to the hospital on February 28, 2020 and discharged

      on March 2, 2020. During that time the records indicate that Plaintiff reported




                                          6
       Case 2:21-cv-00594-AMM Document 2 Filed 04/28/21 Page 7 of 14




      that when he was arrested “after wearing handcuffs his fingers turn blue and

      became painful.”

33.   Plaintiff went home but returned to the hospital on March 17, 2020,

      complaining of extreme pain in his fingers. Plaintiff was admitted to the

      hospital on March 17, 2020 and remained there until March 25, 2020. Those

      medical records state that “He reports he was arrested about 3 weeks ago and

      after wearing handcuffs his fingers turned blue and became painful.”

34.   Over the next ten months Plaintiff went to Saint Vincent’s Hospital and then

      to UAB for continued treatment of his hand, but due to the injuries inflicted

      on him by the deputies’ improper use of handcuffs, Plaintiff’s left hand has

      had to be amputated.

35.   Plaintiff used his hands to earn a living and his loss of a hand has

      severely impacted his ability to support himself and his family.

IV.   Causes of Action.

      FIRST CAUSE OF ACTION: 42 USC    SECTION    1983:
      UNREASONABLE SEIZURE IN VIOLATION OF THE FOURTH
      AMENDMENT

36.   As stated above, Deputy Godber, standing outside Plaintiff’s house, reached

      inside the doorway and grabbed Plaintiff by the wrist, constituting a seizure

      of Plaintiff’s person. Deputy Godber neither requested nor received

      permission to enter the house.


                                         7
       Case 2:21-cv-00594-AMM Document 2 Filed 04/28/21 Page 8 of 14




37.   Plaintiff was within his domicile at the time of the seizure. Deputy Godber

      lacked a warrant to arrest Plaintiff and had no search warrant entitling him to

      enter the home. There were no exigent circumstances justifying Deputy

      Godber’s actions, as Plaintiff was watching TV, there was no disturbance, and

      Plaintiff came willingly to the door to speak. Nevertheless, Deputy Godber

      made an entry into Plaintiff’s home by reaching across the threshold and

      seizing Plaintiff by the wrist.

38.   At this point, Plaintiff was arrested, as no reasonable person would have

      believed he was free to leave after Deputy Godber had seized him by the wrist.

39.   Plaintiff was physically located inside the home when the initial seizure

      occurred. Plaintiff had an objectively reasonable expectation of privacy within

      his own home, and the right therein to be free from unreasonable government

      intrusion.

40.   As stated above, Deputy Godber jerked Plaintiff outside the home and down

      the steps, slammed Plaintiff against a car, threw him to the ground and

      punched him in the face with his fist, then cuffed Plaintiff’s hands together

      behind his back extremely tightly, and placed his knee on Plaintiff’s back.

41.   Deputy Godber lacked probable cause for the arrest, and there were no

      exigent circumstances or other special needs justifying the seizure.




                                         8
       Case 2:21-cv-00594-AMM Document 2 Filed 04/28/21 Page 9 of 14




42.   Deputy Godber’s acts were objectively unreasonable. As such, they violated

      Plaintiff’s Fourth Amendment right to be free from unreasonable searches and

      seizures.

43.   As a result of Deputy Godber’s actions, Plaintiff suffered injuries including

      deprivation of liberty, physical injuries, and pain and suffering and emotional

      distress. Plaintiff is entitled to compensatory damages for these injuries.

44.   Deputy Godber acted willfully or with deliberate difference in depriving

      Plaintiff of his Fourth Amendment rights. Deputy Godber’s actions were

      malicious. Plaintiff is entitled to punitive damages for Deputy Godber’s

      malicious conduct.

45.   Deputy Godber’s violations of Plaintiff’s rights secured by the Fourth

      Amendment were the proximate cause and the cause in fact of the injuries he

      suffered.

      SECOND CAUSE OF ACTION: 42 USC SECTION 1983: EXCESSIVE
      FORCE LEADING TO BODILY INJURY IN VIOLATION OF THE
      FOURTH AMENDMENT

46.   Deputy Godber used unreasonable force in arresting Plaintiff. As stated

      above, Plaintiff was quietly watching TV, came willingly to the door to speak

      with the deputy, and there was no disturbance. Nevertheless, Deputy Godber

      made an entry onto the curtilage and into Plaintiff’s home by reaching across

      the threshold and seizing Plaintiff by the wrist. Seizing Plaintiff by the wrist


                                          9
      Case 2:21-cv-00594-AMM Document 2 Filed 04/28/21 Page 10 of 14




      constituted excessive and unreasonable force in violation of the Fourth

      Amendment because Plaintiff was in his home at the time and there were no

      exigent circumstances justifying the seizure.

47.   Next, as stated above, Deputy Godber jerked Plaintiff outside the home and

      down the steps, slammed Plaintiff against a car, threw him to the ground and

      punched him in the face with his fist, then cuffed Plaintiff’s hands together

      behind his back extremely tightly, and placed his knee on Plaintiff’s back.

      These actions constituted unreasonable and excessive force as Plaintiff was

      not resisting and did not present any danger to the safety of Deputy Godber or

      others.

48.   Next, as stated above, Deputy Godber handcuffed Plaintiff’s wrists so tightly

      that Plaintiff immediately lost sensation in one hand, and Deputy Godber

      refused to loosen the handcuffs even after Plaintiff told him that they were too

      tight and were causing him pain. These actions and inactions constituted

      unreasonable and excessive force. The excessive force as a result of the

      handcuffs continued until the handcuffs were removed at the jail, as Plaintiff

      was not resisting at any time, the handcuffs did not need to be that tight to

      restrain Plaintiff, and Deputy Godber knew that the handcuffs were too tight

      but refused to loosen them.




                                         10
      Case 2:21-cv-00594-AMM Document 2 Filed 04/28/21 Page 11 of 14




49.   The force used by Detective Godber as described above was objectively

      unreasonable and excessive under the circumstances as described in this

      Complaint. As such, Detective Godber’s use of excessive force violated

      Plaintiff’s Fourth Amendment right to be free from unreasonable seizures.

50.   As a result of Deputy Godber’s actions, Plaintiff suffered injuries including

      deprivation of liberty, physical injuries including the loss of his hand, pain

      and suffering and emotional distress, and lost future earning potential.

      Plaintiff is entitled to compensatory damages for these injuries.

51.   Deputy Godber acted willfully or with deliberate difference in depriving

      Plaintiff of his rights secured by the Fourth Amendment. Deputy Godber’s

      actions were malicious. Plaintiff is entitled to punitive damages for Deputy

      Godber’s malicious conduct.

52.   Deputy Godber’s violations of Plaintiff’s rights secured by the Fourth

      Amendment were the proximate cause and the cause in fact of the injuries

      Plaintiff suffered, as evidenced by the medical treatment Plaintiff

      subsequently received.

V.    Damages

53.   Plaintiff is now suffering, and will continue to suffer, irreparable injury from

      Defendant’s unlawful conduct as set forth herein unless enjoined by this

      Court.


                                         11
            Case 2:21-cv-00594-AMM Document 2 Filed 04/28/21 Page 12 of 14




54.        Plaintiff has extreme emotional distress, severe emotional and physical pain

           and anguish, embarrassment, humiliation, shame, damage to reputation,

           damage to his personal and family relationships, loss of income, legal fees,

           medical expenses, lost earning potential, and other pecuniary losses as a

           consequence of Defendant’s unlawful conduct.

55.        Plaintiff has no plain, adequate or complete remedy at law to redress the

           wrongs alleged herein and this suit for declaratory judgment, injunctive relief,

           compensatory, and punitive damages is his only means of securing adequate

           relief.

VI.        Request for Relief.

WHEREFORE, Plaintiff seeks the following relief:

      1.             Award a judgment in favor of Plaintiff against Defendant in an amount

in excess of the jurisdictional limits of this court for compensatory damages,

including damages for severe emotional and physical pain and anguish,

embarrassment, humiliation, shame, damage to reputation, damage to his personal

and family relationships, loss of income, legal fees, medical expenses, lost earning

potential, and other pecuniary losses as a consequence of Defendant’s unlawful

conduct.

      2.             Award punitive damages against the Defendant sufficient to punish him

and to deter further wrongdoing;


                                                12
        Case 2:21-cv-00594-AMM Document 2 Filed 04/28/21 Page 13 of 14




   3.         Grant injunctive relief sufficient to protect Plaintiff from the ongoing

harassment and intimidation of Defendant;

   4.         Award Plaintiff a reasonable attorney fees pursuant to 42 U.S.C. 1988,

including a reasonable attorney’s fee for work preliminary to and necessary to the

institution of this action;

   5.         Award Plaintiff all litigation expenses, cost, prejudgment and post

judgment interest as provided by law; and,

   6.         Such other and further relief as the Court deems just and proper.

               THE PLAINTIFF DEMANDS A TRIAL BY JURY
                      ON ALL ISSUES SO TRIABLE

DATED: April 28, 2021.


                              Respectfully submitted,

                              /s/ Jon C. Goldfarb
                              Jon C. Goldfarb asb-5401-f58j
                              L. William Smith asb 8660-a61s
                              Christina M. Malmat asb 1214 y44q
                              Lieselotte Carmen Burks asb 8304 t46e
                              Counsel for Plaintiff


OF COUNSEL:
Wiggins, Childs, Pantazis, Fisher,
& Goldfarb, LLC
301 19th Street North
Birmingham, AL 35203
Telephone No.: (205) 314-0500
Facsimile No.: (205) 254-1500


                                            13
Case 2:21-cv-00594-AMM Document 2 Filed 04/28/21 Page 14 of 14




                              14
